CaS€ 8-18-76198-&8'[ DOC 1 Filed 09/14/18 Entered 09/14/18 12205:23

',.)"

’. /
Fiil in this information to identify your case:

 

United States Bankruptcy Court for the:

Eastern District of New York

Case number (/fknown); ter you are filing under:

Chapter 7

'/! Cl Chapter11 .`
ch i 12 1
liA/\ §Ch::i:; 13 n Check if this is an

amended filing

 

 

Official Form 101
Vo|untary Petition for individuals Filing for Bankruptcy 12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For examplel if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separate|y, the form uses Debtor 1 and
Debtor2 to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms. .

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m identify Yourse|f

1. Your full name

Write the name that is on your f\m}!{\ Mu@(

government-issued picture F_ t F_ t
identification (forexample, "s name v "s name
your driver’s license or

passport). Middle(i?'ne
Bring your picture l tam

identification to your meeting Last name Last name
with the trustee.

 

AboutDebtor1: _ About debtor 2 (Spouse On|y in a 'Joint Case):,

 

 

 

Middle name

 

Suft'ix (Sr.l Jrr, |l, |ll) Suflix (Sr.l Jr., lll lll)

 

2. Aii other names you
have used in the last 8 First name

 

 

 

 

 

 

 

 

 

 

First name
years
|nc|ude your married cr Middle name Middle name
maiden names.
Last name Last name
First name " First name
Middle name Middle name
Last name Last name

 

 

 

3. Oniy the last 4 digits of

xxx -xx-_/_Liz xxx -xx-

your Sociai Security
number or federal
individual Taxpayer
identification number
(ITIN)

 

Ofiicial Form 101

OR

9xx-xx -

Vo|untary Petition for individuals Filing for Bankruptcy page 1

 

Case 8-18-76198-ast

Debtor 1

First Name

     

LBS\ NBmB

Case number (iri<nown)

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4. Any business names
and Emp|oyer
identification Numbers
(ElN) you have used in
the last 8 years

include trade names and
doing business as names

About Debtoi 1: »

Mave not used any business names or EiNs.

' Abo_ut bebtor 2 (Spouse On_|y in a Joint Case):`_ t

z a l have not used any business names or EiNs.

 

Business name

 

Business name

 

Business name

H_`

FN_

J\I_

 

Business name

EN_

 

5. Where you live

l®% P/i'l€ ACi/€S FSlUA

if Debtor 2 lives at a different address:

 

 

 

 

 

 

 

 

Number Street ` Number Streei

eiti d 4' _, siaié ziP code ' city state ziP code
` '/)/{//

w{z//" 7`€»

County County

lf your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

|f Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

city ' state ziP code city state ziP code
s. Why you are choosing Che one.' Check one.'

this district to file for
bankruptcy

Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district.

n l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

a Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

' Cl i have another reason. Explain.

(see 28 u.s.c. § 1408.)

 

 

 

 

 

Official Form 101

Vo|untary Petition for individuals Filing for Bankruptcy

page 2

 

Case 8-18-76198-ast

t

Debt0r1 la Z,LZ£SZZZ nga Lé \¢ l l gaf `
First Name Middle Name Last Name

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Case number (irknawn)

m Tell the Court About Your Bankruptcy Case

1. The chapter of the

i

Bankruptcy Code you
are choosing to file
under

Check o e. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
forB ruptcy (Form 2010)). Aiso, go to the top of page 1 and check the appropriate box.

`Dzi:’{apter 7

Cl Chapter 11

n Chapter 12

L:l Chapter 13

 

s. How you will pay the fee

Ci l wiii pay the entire fee when i file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typicallyl if you are paying the fee
yourself, you may pay with cash, cashiei"s checkl or money order. lf your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

L:l l need to pay the fee in installments. if you choose this optionl sign and attach the
Ap /icat/on for /ndividua/s to Pay The Filing Fee in /nsta//ments (Official Form 103A).

request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By lawl a judge mayl but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this optionl you must fill out the App//'cation to Have the
Chapter 7 Filing Fee Waived (Official Form 1035) and file it with your petition.

 

f 9. Have you filed for

bankruptcy within the
last 8 years?

z 10. Are any bankruptcy

cases pending or being
filed by a spouse who is
not filing this case with

ed

 

 

a Yes. District When Case number
MM/ DD/YY¥Y

District When Case number
MM/ DD/YYYY

District When Case number

 

MM/ DD/YYYY

/

95

m Yes. Debtor Relationshipto you

 

 

 

_ District When Case numberl if known §
you, or by a business MM/DD /YYYY §
partner, or by an
affiliate?

Debtor Relationshipl to you
District When Case numberl if known
MM / DD / YYYY ~
/

 

: 11. Do you rent your

residence?

Official Form 101

\Dd Go to line 12.

m Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

n No. Go to line 12.

a Yes. Fill out lnii‘ia/ StatementAbout an Eviction JudgmentAga/nst You (Form 101A) and Ele it with
this bankruptcy petition,

Vo|untary Petition for individuals Filing for Bankruptcy page 3

CaS€ 8-18-76198-3_8'[ DOC 1 Filed 09/14/18 Entei’ed 09/14/18 12205:23

     

Debtor1 Case number irrirnown)

    

First Name Middle ame Last Name

mReport About Any Businesse}You Own as a So|e Proprietor

12. Are you a sole proprietor gao(@o to pari4_

of any full- or part-time
business? m Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

. . 0 _
:r::é)rporation, partnership, r Number Streer

 

Name of business, if any

 

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box to describe your business:

n Heaith Care Business (as defined in 11 U.S.C. § 101(27A))
L:l Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
El stockbroker (as defined in 11 u.s.c. § 101(53A))

Ci commodity Broi<er (as denned in 11 u.s.c. § 101(6))

L:l None of the above

 

§ 13. Are you filing under lf you are filing under Chapter11, the court must know whether you are a small business debtor so that it
" Chapter 11 of the can set ap ropn'ate deadlines if you indicate that you are a small business debtor, you must attach your

Bankruptcy code and most re nt balance sheetl statement of operations, cash-flow statementl and federal income tax return or if

are you a small business these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor’?
For a definition of small

business debtor, see L:l No_ | am filing under Chapter 11. but l am NOT a small business debtor according to the definition in
11 U-S-C- § 101(51D)- the Bankruptcy Code.

  

No. l am not filing under Chapter 11.

n Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

meport if You Own or Havty\“ny Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any @€,

property that poses or is _
alleged to pose a threat L:l Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs if immediate attention is needed , why is it needed?

 

' immediate attention?
For example, do you own

 

perishable goods, orlivestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZlF’ Code

Ofticial Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 4

 

Case 8-18-76198-ast

Debtor 1

M Explain Your Efforts to Receive a Briefing About Credit Counseling

Mi die Name

      

Last Name

Case number iiiimowrn

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' 15. Te|i the court whether

‘- you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. if you
cannot do so, you are not
eligible to file.

lf you tile anywayl the court
can dismiss your case, you
will lose whatever filing fee
you paid. and your creditors
can begin collection activities
again.

Ofticial Form 101

About Debtor 1:,

You must check one:

n l received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency,

n l received a briefing from an approved credit

counseling agency within the 180 days before |

filed this bankruptcy petition, butl do not have a §

certificate of completion.

V\hthin 14 days after you tile this bankruptcy petition,
you MUST file a copy of the certificate and payment
pian, if any.

\‘@'l certify that l asked for credit counseling

services froin an approved agency, but was
unable to obtain those services during the 7
days afterl made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirementl attach a separate sheet explaining
what efforts you made to obtain the biiefing. why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to Hle this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satished with your reasons, you must
still receive a briefing within 30 days after you fiie.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do sol your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

cl l am not required to receive a briefing about

credit counseling because of:

Cl lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

El Disabi|ity. My physical disability causes me
to be unable to participate in a
briehng in person, by phone, or
through the internet, even after i
reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a

motion for waiver of credit counseling with the court. `

` About Debtor 2 (Spo'use Only in a Joint Case):

You must check one: §

n l received a briefing from an approved credit

counseling agency within the 180 days before | _
filed this bankruptcy petition, and l received a l
certificate of completion. f

Attach a copy of the certificate and the payment §
pian, if any, that you developed with the agency.

n l received a briefing from an approved credit

counseling agency within the 180 days before l l
filed this bankruptcy petition, butl do not have a §
certificate of completion. §
V\hthin 14 days after you file this bankruptcy petitionl §
you MUST file a copy of the certificate and payment 5
planl if any. 1

_ cl | certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7

days after| made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement. €

To ask for a 30-day temporary waiver of the
requirement. attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to tile this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lfthe court is satished with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certihcate from the approved
agency, along with a copy of the payment plan you
developedl if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about

credit counseling because of:

n lncapacity. l have a mental illness or a mental
deficiency that makes me §
incapable of realizing or making
rational decisions about finances. t

n Disabi|ity. My physical disability causes me l
to be unable to participate in a
briehng in person, by phone, or f
through the internet, even after l
reasonably tried to do so.

cl Active duty. l am currently on active military
. duty in a military combat zone. §

if you believe you are not required to receive a
briefing about credit counseling, you must file a §
motion for waiver of credit counseling with the court. '

Vo|untary Petition for individuals Filing for Bankruptcy page 5

Case 8-18-76198-ast

Debtor 1

First am

Middle Name

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Case number iiilmowni
Last Name

mswer These Questions for Reporting Purposes

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal. family, or household purpose."

\§)e{.`Go to line 16b.

Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment
n No. Go to line 16c.
n Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

n No l am not fling under Chapter 7 Go to line 18
\.Mes. l am filing under Chapter 7. Do you estimate that after any exempt property is'excluded and
ymstrative expenses are paid that funds will be available to distribute to unsecured creditors?
No

n Yes

 

18. How many creditors do

/
\m/1-49

ill 1.000-5,000

El 25,001-50.000

you estimate fhafy°u Cl 50-99 El 5,001-10.000 El 50,001-100,000
°We? Ei 100-199 Ci 10,001-25,000 Ci ivlorethan 100,000
Ci 209-999

 

19. How much do you
estimate your assets to
be worth?

%-$50.000

Ei $50.001-$100.000
Ei $100,001-$500.000
El $500,001-$1 million

Ci $1,000,001-$10 million

Cl $10,000,001-$50 million
Cl $50,000,001-$100 million
Ei $100,000,001-$500 million

Ei $500.000.001-$1 billion

Ci $1,000,000,001-$10 billion
Ei s1o.ooo,ooo,oo1-$50 billion
Ei ivlore than $50 billion

 

' 20. How much do you
estimate your liabilities
to be?

Part 7 Sign Below

;Foryou

Ei $0-$50.000

El 0,001-$100,000
s100,001-$500,000
$500,001-$1 million

Ei $1,000.001-$10 million

El $10,000.001-$50 million
Cl $50,000,001-$100 million
Ei s100,000,001-$500 million

Ei $500,000,001-$1 billion

Ei s1,ooo,ooo,oo1-s1o billion
Ei $10.000,000,001-$50 billion
Cl ivlore than $50 billion

l have examined this petition. and l declare under penalty of perjury that the information provided is true and

correct.

lfl have chosen to file under Chapter 7, l am aware that l may proceed, if eligible, under Chapter 7, 11,12l or 13
of title 11. United States Code. l understand the relief available under each chapter, and l choose to proceed

under Chapter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11. United States Code, specified in this petition.

l understand making a false statement concealing propertyl or obtaining money or property by fraud in connection

with a bankruptcy case can result '
1, 1519, a

1au..sc.§§ 52.1

/-,r'

  

 

1X

fines up to $250,000l or imprisonment for up to 20 years, or both.
3571.

 

-' / /
Signature ofDebtor\'t/ L/T

Executed on §§ /H_ ) 19
/ DD /YYYY

Signature of Debtor 2

Executed on

MM/ DD /YYYY

 

do 1a

Official Form 101

Vo|untary Petition for individuals Filing for Bankruptcy page 6

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5

 

 

Debtor 1 Case number illinowni
First Name Middle ame Last Name
rifle wm ~ ~F
For you if you are filing this The law allows youl as an individual, to represent yourself in bankruptcy courtl but you
_ bankruptcy WithOUf an should understand that many people find it extremely difficult to represent
i attorney themselves successfuliy. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

l |f you are represented by 7
an attemey, you de not To be successful, you must correctly tile and handle your bankruptcy case. The rules are very

need to file this page_ technicall and a mistake or inaction may affect your‘rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee. U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. lf that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to tile with the
court, Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules if you do not list a debt, the debt may not be discharged. if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
casel such as destroying or hiding property. falsifying recordsl or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accuratel truthfull and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

if you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Prot:,edurel and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

DNo

Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incompletel you could be fined or,imprisoned?

DNO

Yes

Y(ou pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

n Yes. Name of Person .
Attach Bankruptcy Petition Preparefs Notice, Declaration, and Signature (Officiai Form 119).

 

By signing here, l acknowledge that l understand the risks involved in filing without an attorney. i
have read and understood this notice. and l am aware that filing a bankruptcy case without an

attorney may caus%lwmy rights or property if l do not properly handle the case.
x ////z’»L x

_ VI
Signature of Debtor 1 Signature of Debtor 2

Date Date

?,
MM/DD lYYY MM/ DD/YYYY

Contact phone _QB/ 65 z é; ZZ Contact phone
Cell phone Az/d}} *éé ?_L Cell phone
Email address "/ Email address

 

 

 

 

*‘"’“`~‘">“'i’?"“!““/ ~»~¢ it,”? »~ s » t ,.,, … - t. x t t " t , ,, t t> . » t t

Ofticial Form 101 Vo|untary Petition for individuals Filing for Bankruptcy page 8

CaS€ 8-18-76198-&8'[ DOC 1 Filed 09/14/18 Entei’ed 09/14/18 12205:23

Fiii in this information to identifyl`your case: :.-

Debtor 1
Middle Nom Last Name

Debtor 2
(Spouse, ll li||ng) First Name Middle Name Last flame

 

united States Bankruptcy court for tne; Eastern District of New York

Case number Check if this iSZ

(ifknown) .
m An amended filing

|;l A supplement showing postpetition chapter 13
income as of the following date:

Ofticial Form 106i _ m
Schedule l: Your income iz/ts

Be as complete and accurate as possible. if two married people are filing together (Debtor1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your spouse.

if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Empioyment

1. Fiii in your employment

 

 

 

 

      
   

."t:lcbtoj_rj?_' . non-iiiir_l_g.epo_t'i§é '

 

 

information. " ijebtor"t '.

if you have more than onejob, r
attach a se arate a ewith E(` i
informationpabout zd§itional Empl°yme"t Status Emp|°¥€d a Empioy€d

employers n Not employed m Not employed

include part-time, seasonal. or
self-employed wori<.

. . Occupation -)- C r €CL/"Vf ibla-77
Occupatlon may include student

or homemaker, if it applies

Empioyer’s name .S-@//,[ €/'l’//DA)CJj/€/

Empioyer’s address

 

Number Sireet Number Street

 

 

 

City State ZiP Code City State ZiP Code

 

How long employed there?

m Give Details About Monthly income

Estimate monthly income as of the date you file this form. if you have nothing to report for any line, Write $0 in the space. include your non-filing
spouse unless you are separated

if you or your non-hiing spouse have more than one employerl combine the information for all employers for that person on the lines

below. if you need more space, attach a separate sheet to this form.

 

' For ljevb_tor'~.t For'i§ebtor 2 or § ; v
;' .': ;non_-Fillng` spouse 4.

 

2. List monthly gross wages, salary, and commissions (before all payroll
deductions). if not paid monthiy, calculate what the monthly Wage Wouid be. 2. $ 2 O@O §'-3_'3' $

 

 

 

3. Estimate and list monthly overtime pay. 3. +$ + 5

 

 

4. Calcuiate gross income. Add line 2 + line 3. 4. $____________ $

 

 

 

 

 

 

Ofticial Form 106| Schedule i: Your income page 1

CaS€ 8-18-76198-38'[ DOC 1 Filed 0_9/14/18 Entei’ed 09/14/18 12205:23

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1 G, ’ `- l Case number (irirnown)
First Name Middle Na s Last Name

. For cebt_or1 § fi_-'_o"'cebtorz o_r~' _
. ' = '- -: non-filing egong r:.i
1 Copy line 4 here ............................................................................................... ') 4. 5 $
i
§ 5. List all payroll deductions:

5a. Talil Medicare, and Social Security deductions 5a $ $

5h. lillandatory contributions for retirement plans 5b. $ $
l Sc. Vo|untary contributions for retirement plans 50. $ $
i 5d. Required repayments of retirement fund loans 5d. $ $
z 5e. insurance 5e. $ $
§ 51. Domestic support obligations 5f. $ $
§ Sg. Union dues 59. $ $

5h. Other deductions Specify: 5h. +$ + $

t 6. Add the payroll deductions Add lines 5a + 5b + 5a + 5d + 5e +5f+ 5g + 5h. 6. $ $ l
7. Caiculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ $
§ 8. List ali other income regularly received:
8a. Net |ncome from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts ordinary and necessary business expenses and the total 3 $
monthly net income 8a.

Bb. interest and dividends Bb. $ $
8c Famiiy support payments that you, a non-filing spouse, or a dependent §
§ regularly receive
§ include alimony, spousal support child support maintenance, divorce $ $

i_ settlement and property settlement. Bc.
Bd. Unem ployment compensation Sd. $ $
§ 8e. Sociai Security 86.
§ Sf. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
§ that you receive, such as food stamps (benents under the Supplementai
§ Nutrltion Assistence Program) or housing subsidies.
§ Specify: - Bf. $ $
l . .
§ 8g. Pensron or retirement income 89. $ 3
l
§ 8h. Other monthly income. Specify: Bh. + $ + $
9. Add all other income. Add lines 8a + Bb + 8c + 8d + Be + Bf +Sg + Bh. 9. $ $
10. Ca|cu|ate monthly income. Add line 7 + line 9. + _ $
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse 10. $ $ _

 

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

include contributions from an unmarried partnerl members ofyour househoid\ your dependents, your roommates, and other
friends or relatives

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedu/e J.

 

 

 

 

Specify. 11. + $
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 2000 eg_w
Write that amount on the Summary of Your/isse!s and Liabili'fl'es and Certain Stati'sticai lnformation, if it applies 12. $__....'..._...._
Combined

;, monthly income
_; 13. Do u expect an increase or decrease within the year after you file this form?

' §)t\i)o.

i;] Yes. Expialn:

 

 

 

 

 

 

 

 

 

Ofticial Form 106| Schedule l: Your income page 2

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Fiu i¢{‘ih'i,s retardation t§'idéhtiiy'§'£>`&r' case:'

    

  
   

   

. \.,
oebiori ,[Q:g_vand: 7/’)/)/Tl, Middm§ma§ § Lasmm Ch@ci< if this isc

    
  

 

    

  
 

Deblor 2
(Spouse, if filing) First Name Middle Name Last Name

 

Cl An amended filing

n A supplement showing postpetition chapter 13
expenses as of the following date'.

      
 

united States Bankruptcy Court for the: Eastem District of New `{ork

Case number

(Hknown) MM / DD/ YYY¥

 

 
   
 

 

Ofticial Form 'lOGJ

 

Schedule J: Your Expenses 12115

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m Describe Your Househoicl

 

1. -is this a joint case?

E/No. Go to line 2.

13 ‘i/es. Does Debtor 2 live in a separate household?

m No
a Yes. Debtor 2 must file Ofticial Form “|OGJ-Z, Expenses for Separate Household of Debtor 2.

2. Do ou have de endents?
y p Dependent’s relationship to Dependent’s ; Does dependent live

m No
Do not list Debtor1 and @/Yes. Fiii out this information for Debtor1 QFDebei'Z age Wifh vOu?

 

Debtor 2. each dependent ..........................

_ f 0 o
Do notstate the dependents' jbl/l /€I § U/§

nal’i'lGS. 65

l:] No
E] Yes

[] No
l:l Yes

m No
L:l Yes

§UNO
il;lYes

 

 

 

 

 

3. Do your expenses include ®/NO
expenses of people other than L__l
_H___,_ygurseif and your dependent_s_'._> Yes

m Estimat:e Your Ongoing Ililonthly Exper\ses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is fiied. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

 

 

` such assistance and have included it on Schedule l: Your income (Of'ficiai Form 106i.) § '-:.Y°l"' e¥PF:"€.":'__,;,___. d
4. The rental or home ownership expenses for your residence. include first mortgage payments and
any rent for the ground or lot. 4. s
lif not included in line 4:
4a. Real estate taxes 4a $
4b. Froperty, homeowners or rentefs insurance 4b. $
4c Home maintenenoe. repair, and upkeep expenses 4c. $
$

4d. Homeowner‘s association or condominium dues 4d.

Ofticial Form 106J Schedule J: Your Expenses page 1

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Debtor 1 ' / Case number (r//awwn)
Firerame Middle a e LasiNa a
5, Add|t|onal mortgage payments for your residence. such as home equity loans 5. $
l6. Utiiities:
- '5 LQ(D
6a Eiectriclty, heai. natural gas 6a. $ / .- ‘S-`
cbl Water, sewer. garbage collection ob. $ §(Qi 9`£0
umw
oc_ Telephone. cell phone. lntemet, satellit(i.:;nd cable services 6c. $ 2@(.0 "-=
_. _ 1 ' ga
ed. oiher. specify; /~/@We./` a‘)l ed. s - 60 19 - -»;-
?_5 6000
7. Food and housekeeping supplies 7. $ ‘ " '§`
. _ § @ @ \QOJ
1 8. Chlidcare and children’s education costs 8. $ t “""
§ e. C|othing, iaundry, and dry cleaning 9. $
10. Personai care products and services 10. 5
11. iliiedicai and dental expenses y ii. $

12. Transportation. include gas, maintenance, bus or train fare.

Do` not include car payments 12,
~13. Entertainment. clubs, recreation, newspapers, magazines, and books 13. $
14. Charitabie contributions and religious donations 14. $

15. insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a $

iSb. Heaithinsurance 15b. $ `

‘iSc. Vehicie insurance 15c. $ l§(g.- §§
15d. Otherinsurance.Specify: 15d. $

 

16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $

17. installment or lease payments:

 

 

 

i7a. Car payments for Vehicie i 17a. $

17b. Car payments for Vehicie 2 17b. $

17<:. Other. Specify: 17c. $

17d. Other. Specify: 170. $
18. Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Scheduie I, Your income (Officiai Form 106|). 18, $
v19. Other payments you make to support others who do not live with you.

Specify: 19. $
20. Other real property expenses not included in lines 4 or 5 of this form or on Scheduie I: Yourlncome.

20a ivlortgages on other property 20a $

Zub. Real estate taxes 20b. $

20cv Propertyl homeowners or renter's insurance Zoo. $

20d. l\/laintenance. repairl and upkeep expenses 20d. $

20e. i-lomeowner's association or condominium dues § _ _ __ _ zoe_. $_

Ofticial Form 106J Scheduie J: Your Expenses page 2

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Debtor 1 [€ ém j \'{ l (`¢LK\` Case number (r/kmwn>

First Name Middia Name Last Nlm!,~

21. Other. Specify:

 

22. Ca|cu|ate your monthly expenses
22a Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2}, it any‘ _rrom Ofticial Form 106J~2

22<:. Add line 22a and 22b. The result is your monthly expenses

23. Ca|culate your monthly net income.

23a Copy line 12 (your combined monthly income) from Scheduie /.
23b. Copy your{monthly expenses from line 22c. above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income

24. Do you expect an increase or decrease ln your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or cio you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage'?

@/No.

 

Ofticial Form 106J Scheduie J; Your Expenses

21.

22b.

22c.

233.

23 b.

230.

»...,»»_.,_ ,__._\.,,`.,».~~».=.»,. ...-...,-,..,.',...-,..... .._....._-..-_-.n.-~..-a.t=.¢,.,.».~

 

 

 

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page 3

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: Case No.

IW\G\ `/\ VV\W'(` \-1 \, [0` )/\ Chapter

Debtor(s)

 

X

DECLARATION OF PRO SE DEBTOR(§)

All individuals filing for bankruptcy pro se (without an attorney), must provide the following information:

Name of Debtor(s): M(l|/]]V\,(H" x H/] CIW'
AddreSS= J/bi'ib @ll/\&AOM RPU/¢L gail §Zw/‘(,l/Vl/ MW
Email Address:

Phone Number: ((§¢// )TA}} 66 jj

CHECK THE APPROPRIATE RESPONSES:
FILING FEE:
__ PAID THE FILING FEE IN FULL
§L=APPLIED FOR INSTALLMENT PAYMENTS OR WAIVER OF THE FILING FEE

 

PREVIOUS CASES FILED: l. ' 2. 3.

 

ASSISTANEE WITH PAPERWORK:
_\_% ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES
__ HAD ASSISTANCE WITH PREPARATION OF/FILING PETITION AND SCHEDULES

If Debtor had assistance, the following information must be completed:

Name of individual who assisted:

 

 

 

Address:
Phone Number: 1 )
Amount Paid for Assistance: $

I/We hereby declare the information above under the penalty of perjury.

f z // _
Dated: 0 7 ;éz §: / '.
` Debtor’s lgr‘fa\ture `

Joint Debtor’s Signature

 

 

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
www.nyeb.uscourts.gov

STATEMENT PURSUANT TO LOCAL
BANKRUPTCY RULE 1073-2(b)

DEBTOR(S): yile §L/; rl/! LL;),£ \-’/;/ ! (TV)/"[ CASE NO.:

Pursuant to Local Bankruptcy Rule 1_073-2(b), the debtor (or any other petitioner) hereby makes the following disclosure concerning
Related Cases, to the petitioner’s best knowledge, information and belief:

[NOTE: Cases shall be deemed “Related Cascs” for purposes E.D.N.Y LBR 1073-1 and E.D.N.Y LBR 1073-2 if the earlier case was pending at
any time within eight years before the filing of the new petition, and the debtors in such cases (i) are the same; (ii) are spouses or ex-spouscs; (iii)
arc aftiliates, as defined in 11 U.S.C. § 101(2); (iv) are general partners in the same partnership; (v) are a partnership and one more of its general
partners; (vi) are partnerships which share one or more common general partners; or (vii) have, or within 180 days of the commencement of either
of the Rclated Cases had, an interest in property that was or is included in the property of another estate under 11 U.S.C. § 541(a).]

BLNO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY TIME.
[l THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN PENDING:

l. CASE NO.: JUDGE: _ DISTRICT/DIVISION:

 

CASE PENDING: (YES/NO): [Ifclosed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE: _ , _
(Discharged/awaiting discharge, conflrmed, dismissed, etc.

 

MANNER IN WHICH CASES ARE RELATED: (Refer to NOTE above):

 

¢ SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B ~ PART l” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

0 SCHEDULE A/B: ASSETS - REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 9” WHICH WAS ALSO LISTED lN
SCHEDULE “A/B” OF RELATED CASES:

 

2. CASE NO.: JUDGE: DISTRICT/DIVISION:

 

CASE PENDING: (YES/NO): [Ifclosed] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:
(Discharged/awaiting discharge, confirmed, dismissed, etc.

 

MANNER IN WHICH CASES ARE RELATED: (Refer lo NOTE above):

 

- scHEDULE A/B= PROPERTY "oFFICIAL FoRM 106A/B - ervn)UAL” PART 1 (REAL PRoPERTY);
REAL PROPERTY As LISTED rN DEBTOR’s scHEDULE “A/B - PART 1” wHICH wAs ALso LISTED IN scHEDuLE “’A/B oF
RELATED cAsEs:

 

0 SCHEDULE A/B: ASSETS - REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL” PART 9 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 9” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

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. [OVER]
DISCLOSURE OF RELATED CASES (cont’d)
CASE NO.: JUDGE: DISTRICT/DIVISION:
CASE PENDING: (YES/NO): [Ifclosea'] Date of Closing:

 

CURRENT STATUS OF RELATED CASE:

 

(Discharged/awaiting discharge, confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED: (Refei‘ to NOTE above):

 

SCHEDULE A/B: PROPERTY "OFFICIAL FORM 106A/B - INDIVIDUAL” PART 1 (REAL PROPERTY):
REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 1” WHICH WAS ALSO LISTED IN SCHEDULE “A/B” OF
RELATED CASES:

 

SCHEDULE A/B: ASSETS - REAL PROPERTY "OFFICIAL FORM 206A/B - NON-INDIVIDUAL`” PART 9 (REAL
PROPERTY): REAL PROPERTY AS LISTED IN DEBTOR’S SCHEDULE “A/B - PART 9” WHICH WAS ALSO LISTED IN
SCHEDULE “A/B” OF RELATED CASES:

 

NOTE: Pursuant to 11 U.S.C. § 109(g), certain individuals who have had prior cases dismissed within the preceding 180 days may not
be eligible to be debtors. Such an individual will be required to file a statement in support of his/her eligibility to file.

TO BE COMPLETED BY DEBTOR/PETITIONER’S ATTORNEY, AS APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N):

CERTIFICATION (to be signed by pro-se debtor/petitioner or debtor/petitioner’s attorney, as applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to any case pending or pending at any time, except as

indicated elsewhere on this form.

Signature of Debtor’s Attorney Signaturev of Pro-s@'f)el£ or/Petitioner

/:ZL/b /’meO~CN/i 77£/'\/

Mailing Address of Debtor/Petitioner

Uc»z/fh¢¢f‘€, »\)\/ 1170(),9

City, State, Zip Code

 

 

Email Address

wl 933 be 71

Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y LBR 1073-2 Statement may subject the debtor or any
other petitioner and their attorney to appropriate sanctions, including without limitation conversion, the appointment of a trustee or
the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN WRITING. Dismissal of your petition may otherwise
result.

 

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In Re: Case No.

Chapter _(

mdh;')/LUU"`/` &///@v'/]

Debtor(s)

 

VERIFICATION OF CREDITOR MATRIX/LIST OFCREDITORS

The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the
creditor matrix/list of creditors submitted herein is true and correct to the best of his or her

Dated: C’[ /l"{ l ii

 

knowledge
¢1/&{ Q//‘/\/6 §

Debtor

 

Joint Debtor

s/

 

Attorney for Debtor

USBC-44 Rev. 11/15

 

 

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Capital One Bank

c/o Rubin & Rothman
1787 Veterans Highway
Islandia, NY 11749

Sears Credit Cards
PO Box 6282
Sioux Falls, SD 57117-6282

Bank of America
100 North Tryon Street
Charlotte, NC 28202

American Express
200 Vesey Street.
New York, NY 10285-3106

Citi Cards/ Costco Visa
Citibank Customer Service
PO Box 6500

Sioux Falls, SD 57117

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